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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

 JOSEPH HARDESTY, ET AL.,                            :   Case No. 1:16-CV-00298
 Individually and on behalf of All                   :
 Others Similarly Situated                           :   Judge Timothy Black
                                                     :
                               Plaintiffs,           :
                                                     :   PLAINTIFFS’ UNOPPOSED MOTION
        v.                                           :   TO FILE UNDER SEAL
                                                     :
 THE KROGER CO., et al.                              :
                                                     :
                               Defendants.           :

       Now come Named Plaintiffs Joseph Hardesty, Madeline Hickey, Derek Chipman, and the

24 Collective Action Members they represent (collectively, “Plaintiffs”), and respectfully request

that this Court grant the Plaintiffs leave to file certain additional exhibits to Plaintiffs’ Motion

for Summary Judgment under seal, which were not previously filed with the parties’ respective

certification/de-certification motions. The grounds for this Motion are set forth in the attached

Memorandum.



                                              Respectfully submitted,

                                              /s/ Joshua M. Smith
                                              Peter A. Saba (0055535)
                                              Joshua M. Smith (0092360)
                                              Sharon J. Sobers (0030428)
                                              STAGNARO, SABA
                                              & PATTERSON CO., L.P.A.
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                                              Attorneys for Plaintiffs




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                               MEMORANDUM IN SUPPORT
       On August 3, 2016, a Stipulated Protective Order (the “Protective Order”) was filed with

the Court. (See Doc#17). Pursuant to Section 8 of the Protective Order, the Parties are required to

file under seal any protected confidential materials. Plaintiffs anticipate filing one or more exhibits

to its Motion for Summary Judgment that have confidential designations, and as such seek leave

to file those documents under seal.

       On June 7, 2017, The parties filed a joint motion for leave to file certain exhibits under seal

for purposes of Class Certification and Decertification. (Doc#30). The Court granted this motion,

and numerous confidential exhibits were filed pursuant to this Court’s entry granting leave.

(Doc#31). While many of the exhibits supporting Plaintiffs Motion for Summary Judgment were

previously filed with this Court during certification briefing and thus do not need refiled, there are

a number of additional unfiled exhibits designated confidential which support Plaintiffs’ Motion

for Summary Judgment. Therefore, the Plaintiffs respectfully request that they be provided leave

to file those additional exhibits under seal. Plaintiffs have discussed this motion with Counsel for

Kroger, who has indicated they have no opposition to the motion. A proposed Entry is attached for

the Court’s consideration.


                                               Respectfully submitted,

                                               /s/ Joshua M. Smith
                                               Peter A. Saba (0055535)
                                               Joshua M. Smith (0092360)
                                               Sharon J. Sobers (0030428)
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                                  CERTIFICATE OF SERVICE

        The undersigned does hereby certify that a true and accurate copy of the foregoing was
served electronically through the District Court’s electronic case filing system upon David K.
Montgomery, Esq., and Ryan M. Martin, Esq., Jackson Lewis P.C., PNC Center, 26 th Floor, 201
East Fifth Street, Cincinnati, Ohio 45202, this 22nd day of February, 2019.

                                           /s/ Joshua M. Smith
                                           Joshua M. Smith (0092360)




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